USCA4Case
      Appeal: 23-1836   Doc: 16
          5:21-cv-00016-EKD-JCH    Filed: 08/15/2023
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                                                                   FILED: August 15, 2023


                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT

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                                          No. 23-1836
                                   (5:21-cv-00016-EKD-JCH)
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         CONSUMER FINANCIAL PROTECTION BUREAU; COMMONWEALTH OF
         MASSACHUSETTS; PEOPLE OF THE STATE OF NEW YORK, by Letitia
         James, Attorney General of the State of New York; COMMONWEALTH OF
         VIRGINIA, ex rel. Attorney General of Virginia

                     Plaintiffs - Appellees

         v.

         NEXUS SERVICES, INC.; LIBRE BY NEXUS, INC.; MICHEAL DONOVAN;
         RICHARD MOORE; EVAN AJIN

                     Defendants - Appellants

                                     ___________________

                                          ORDER
                                     ___________________

              Upon consideration of appellants’ motion for stay or injunction and

        emergency motion for stay or injunction, the court denies the motions.

              Entered at the direction of Judge Richardson with the concurrence of Judge

        King and Judge Wynn.

                                               For the Court

                                               /s/ Patricia S. Connor, Clerk
